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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CHRISTINA BOTTO,

        Plaintiff,

v.                                                              Case No: 8:18-cv-107-T-36CPT

ALLIANCEONE INCORPORATED
(DELAWARE),

      Defendant.
___________________________________/

                                            ORDER

        Before the Court is the Notice of Voluntary Dismissal with Prejudice (Doc. 8). In accord

with the Notice of Voluntary Dismissal with Prejudice, it is ORDERED AND ADJUDGED as

follows:

        1)      The Notice of Voluntary Dismissal with Prejudice is APPROVED (Doc. 8).

        2)      This cause is dismissed, with prejudice.

        3)      The Clerk is directed to terminate any pending motions and deadlines and CLOSE

this case.

        DONE AND ORDERED in Tampa, Florida on February 12, 2018.




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Counsel of Record
